Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 1 of 17

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Northern Division)

HOLLY DOUGLASS, *
Plaintiff *
Vv. * Civil Action No.: 09CV00558 CCB
NTI-TSS, INC., *
Defendant. *
* * * * * rs x * # * x

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DIMISS
PLAINTIFF'S COMPLAINT

Defendant NTI-TSS, Inc. (hereinafter, “NTT’), by its attorneys, Barry C. Goldstein,
Anthony J. Breschi and Waranch & Brown, LLC, hereby files this Memorandum of Law in
Support of its Motion to Dismiss Plaintiffs Complaint, and states as follows:

1. FACTS

Plaintiff Holly Douglass filed the instant Complaint against Defendant NTI on January 5,
2009 alleging multiple product liability claims, including negligence, willful and wanton
misconduct, strict liability, and breach of express and implied warranties. A copy of Plamtiff's
Complaint is attached hereto as Exhibit A.

NTI manufactures a mouth guard prescribed by dentists to their patients to address
temmporomandibular joint dysfunction (“TMJ”) and bruxism (teeth grinding), See Exhibit A at { 3.
On or about April 23, 2003, Plaintiffs dentist, Dr. William De Long, D.D.S. (“De Long’)

prescribed the aforementioned mouth guard to Plaintiff. Id. at § 9.
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 2 of 17

Plaintiff alleges that NTI failed to warn her and her dentist about the potential for
developing an open anterior bite with extended use of the mouth guard. Id. at 9 10. Plaintiff
contends she has suffered pain and discomfort related to an open anterior bite which developed after
using the mouth guard. Id. at 4] 15-18.

Plaintiff essentially concedes m her Complaint that she filed her case after the statute of
limitations had expired. Id. at 4§ 56, 61. On or about February 25, 2004, Plaintiff started
experiencing symptoms associated with an open anterior bite which she alleges was caused by
NTI’s mouth guard. Id. at 413. On December 31, 2004, Plaintiff discovered that NTI’s website
specifically warned that use of the mouth guard could cause patients to develop an open anterior
bite; it further advised dentists to inform their patients of the potential changes to their bite and
obtain consent accordingly. Id. at 4/19.

Plaintiff alleges that she, through her counsel, contacted NTI regarding warnings supplied to
Dr. De Long with the mouth guard that was prescribed to her. Id. at 4] 20. Plaintiffs Complaint is
based entirely upon a March 3, 2006 letter that Plaintiff received on behalf of NTT in response to her
assertion of a liability claim and a request for information. Id. at 4 21.

Plaintiff claims that she relied upon the information in NTI’s letter regarding the warnings
issued with the mouth guard such that she elected not to sue NTI within the statute of limitations.
She now claims that the statements in the letter were false and that the statute of limitations should
be tolled on her product liability claims because the false statements amount to fraud. Id. at 4] 22,
23, Count V. Despite incorporating the letter by reference, Plaintiff did not attach the letter to her
Complaint. Accordingly, a copy of the March 3, 2003 letter is attached here as Exhibit B.

As is obvious from the four corners of the March 3, 2006 letter, Plaintiffs Complaint is

baseless. Moreover, Plaintiff has failed to plead her fraud and related misrepresentation claim with
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 3 of 17

sufficient particularity. As such, the Plaintiff's Complaint, including both the product liability
claims and the fraud/misrepresentation claims must be dismissed. In addition, Plaintiff's claims for
punitive relief are without basis and must be dismissed.

IL SUMMARY OF ARGUMENT

By her own admission, Plaintiff filed her Complaint after the statute of limitations on her
product liability claims had expired. See Exhibit A at §] 56, 61. With her allegations of fraud, she
attempts to toll the limitations period. However, in order to plead such claims for the purposes of
tolling the statute, Maryland law requires that Plaintiffs fraud claim be pled with particularity.
Here, Plaintiff's Complaint fails to establish the alleged fraud, how she was kept m ignorance of the
fraud, and the reason for the delay in her discovery of the fraud.

The facts as alleged in Plaintiff's Complaint do not establish that Plaintiff exercised
diligence in investigating either NTI’s role in providing warnings to Dr. De Long or Dr. De Long’s
receipt of such warnings. Plaintiff was on notice of changes in her bite associated with use of the
mouth guard as early as February 2004. Id. at #13. She waited until 2006, two years after she was
aware of her injury, to contact NTI and then waited until the end of 2007 or early 2008 to address
the issue with Dr. De Long. Id. at { 21, 26. According to her Complaint, her investigation consisted
of nothing more than speaking with the counsel of her potential adversaries, Dr. De Long and NTI.
She fails to allege that she made any effort to obtain formal statements, documents or other evidence
regarding the product warnings issued with the mouth guard.

Moreover, Plaintiff's incorporation of the March 3, 2006 letter purportedly making
representations on behalf of NTI, does nothing to support her legal claims; on the contrary, the letter

establishes that Plaintiff's fraud and misrepresentation claims are completely unfounded. The letter
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 4 of 17

on its face, clearly and unambiguously limits any representations made therein by advising Plaintiff
to investigate her claims thoroughly.

Plaintiff, of her own accord, waited for nearly three years after her alleged injury arose to
file suit against Plaintiff's dentist, and similarly failed to conduct a timely investigation of potential
claims against Defendant NTI. For that reason, Plaintiff Complaint, in its entirety, must be
dismissed.

TH. STANDARD OF REVIEW

Defendant NTI moves for dismissal of this action pursuant to Rules 12 and 41 of the Federal
Rules of Civil Procedure. Rule 12(b)(6) authorizes defendants to move for dismissal when asserting
a plaintiff's failure to state a claim upon which relief can be granted. Fed.R.Civ.Pro. 12(b)(6). Rule
4j(b) further authorizes a defendant to move for dismissal when a plaintiff fails to comply with any

of the Federal Rules of Crvil Procedure. Fed.R.Civ.Pro. 41.

A Motion to Dismiss under Rule 12(b)(6) tests the legal sufficiency of the Complaint.

Chertkoff v. Mayor & City Council of Baltimore, 497 F. Supp. 1252, 1258 (D. Md. 1980);

 

Republican Party of N.C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992). For purposes of a Motion to

 

Dismiss pursuant to Rule 12(b)(6), the Court is not required to accept as true, “unsupported legal
conclusions, legal conclusions couched as factual allegations or conclusory factual allegations

devoid of any reference to actual events” set forth in a plaintiff's complaint. Baltimore-Clark v.

 

Kinko’s, Inc., 270 F. Supp. 2d 695, 698 (D. Md. 2003) (citing Revene v. Charles County Comm'rs,
882 F.2d 870, 873 (4th Cir. 1989); Papason y, Allain, 478 U.S. 265, 286, (1986) and United Black
Firefighters v. Hirst, 604 F.2d 844, 847 (4th Cir. 1979). Rather, a complaint may be dismissed if it
fails to allege facts sufficient to support a cognizable legal theory. Mates vy, North American

Vaccine, 53 F. Supp. 2d 814, 822 (D. Md. 1999).
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 5 of 17

IV. ARGUMENT

A. PLAINTIFF’S PRODUCT LIABILITY CLAIMS (COUNTS J-IV) ARE
TIME-BARRED AND MUST BE DISMISSED,

Maryland Jaw requires that a civil action be filed within three years from the date it accrues.
See Md.Code Ann., Cts. & Jud. Proc. §5-101 (2008). Plaintiffs product liability claims are
governed by this statute. Because Plaintiff's product liability claims were filed almost five years
after Plaintiff earned of her injury related to the use of the mouth guard, the Court must dismiss
Plaintiff's Complaint as to Counts I (negligence), IL (willful and wanton misconduct), III (strict
Liability), and [V (breaches of express and implied warranties).

1. Plaintiff’s Product Liability Claims Are Barred By the Statute of
Limitations.

Pursuant to Maryland’s “discovery rule”, a cause of action “accrues when the claimant in
fact knew or reasonably should have known of the wrong.” Poffenberger v. Risser, 290 Md. 6031,
636, 431 A.2d 677 (Md.1981). The discovery rule requires that a plaintiff have notice of a claim to
begin the running of the limitations time period under §5-101. The Maryland Court of Appeals has
defined such notice as “express cognition, or awareness implied from knowledge of circumstances
which ought to have put a person of ordinary prudence on inquiry (thus, charging the individual)
with notice of all facts which such an investigation would in all probability have disclosed if it had
been properly pursued.” Poffenberger, 290 Md. at 637, 431 A.2d 677. Similarly, in a product
liability action, the statue of limitations begins to run when the plaintiff “knows or... . should
know of the injury, its probable cause, and either manufacturer wrongdoing or product defect.”

Pennwalt Corp. v. Nasios, 314 Md. 433, 452, 550 A.2d 1155 (1988). A plaintiff is charged with

 

knowledge of a cause of action where an investigation pursued with reasonable diligence would

have led to knowledge of the alleged tort. Id. at 452. See aiso Hartnett v. Schering Corp., 2 F 3d 90
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 6 of 17

(4" Circuit 1993) (“The requisite awareness that a plaintiff must have in a medical products liability
case is actual or implied knowledge that: (1) injury has occurred; (2) it was caused by the defendant,
and (3) there was a manufacturer wrongdoing or product defect.”).

Plaintiff first became aware of her alleged injury on or about February 25, 2004 when she
noted changes in her speech and eating habits. She also noted that her front teeth did not close as
they had previously. See Exhibit A at 13. Shortly after this, she alleges that she was diagnosed
with an open anterior bite and that she was aware that the open anterior bite was caused by use of
NTIs mouth guard. Id. at 14. Applying the discovery rule to the facts as alleged in the Complaint,
Plaintiff's statute of limitation began to run on or about February 25, 2004. By her own admission,

she began her investigation into NTI by December 31, 2004, the latest point at which the statute of

 

limitations began to run. Despite this, she did not file suit against NTI until January 9, 2009, almost
five years after her injury occurred and more than four years after initiating her investigation.
Accordingly, her product liability claims are time-barred and Counts I-IV must be dismissed.

2. The Statute of Limitations Is Not Tolled  By_ Plaintiff's
Allegations of Fraud.

In her Complaint, Plaintiff alleges that she relied upon representations in the March 3, 2006
letter from NTI regarding warnings supplied with the subject mouth guard. Essentially, Plaintiff
attempts to toll the statute of limitations on her products liability claims pursuant to Md. Code Ann.,
Cts. & Jud. Proc. §5-203. However, Plaintiff has failed to plead her claim for fraud properly
pursuant to § 5-203; the allegations of fraud do not toll the limitations period on her products
hability claims.

Where knowledge of “a cause of action is kept from a party by the fraud of an adverse party,
the cause of action shall be deemed to accrue at the time when the party discovered, or by the

exercise of ordinary diligence should have discovered the fraud.” Md.Code Ann., Cts. & Jud.
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 7 of 17

Proc. §5-203 (2008) (Emphasis supplied.). The statute of limitations is tolled under $5-203 only if
plaintiffs can show:

(1) that they were kept in ignorance by the fraud of an adverse

party that they had a cause of action; (2) how, if fraud existed,

they discovered it, (3) why they did not discover it sooner, (4)

what diligence they exercised to discover it.
Sasso vy. Koehler, 451 F. Supp. 933 (D. Md. 1978) citing Leonhart v. Atkinson, 265 Md. 219, 227,
289 A.2d 1, 6 (1972). To invoke § 5-203, the Plaintiff “must properly plead fraud with
particularity....“General or conclusory allegations of fraud are insufficient. A plaintiff must allege
facts which indicate fraud or from which fraud is necessarily implied.” Doe v. Archdiocese of
Washington, 114 Md.App. 169, 187, 689 A.2d 634 (1997) (emphasis supplied), citing Antigua
Condominium Ass’n v. Melba Investors Atlantic, Inc., 307 Md. 700, 735, 517 A.2d 57 (1986).

A plaintiff who invokes § 5-203 to toll the limitations period must “show affirmatively that
he was kept in ignorance of the his right of action by the fraud” and “must specifically allege and
prove when and how his knowledge of the fraud was obtained so that the court will be enabled
to determine whether he exercised reasonable diligence to ascertain the facts.” See Finch vy. Hughes
Aircraft Co., 57 Md. App. 190, 241-42, 469 a.2d 867, cert. denied, 300 Md. 88 , 475 A 2d 1200
(1984), cert. denied, 469 US 1215, 105 S.Ct. 1190, 84 L.2d.2d 336 (1985) (emphasis supplied).

The failure to exercise due diligence in investigating a potential cause of action is fatal to the
right to toll the statute of limitations. See Insurance Co. of North America v. Parr, 44 F2d 573 (4"
Cir 1930). In Parr, a group of insurance agents complained that they were kept in ignorance of their
cause of action because defendant did not notify them that a higher rate of commission had been
established elsewhere. In holding that that the plaintiffs were not entitled to a tolling of the statute

of limitations under Maryland law based on an earlier version of § 5-203, the court stated a party

seeking to toll the statute of limitations must demonstrate that it was kept in ignorance of the cause
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 8 of 17

of action by the fraud and that the party has employed “usual and ordinary diligence in the
discovery and protection” of its rights. Id. at 576. Further where “in the exercise of diligence, the
fraud of the adverse party might have been discovered, the failure to exercise it is fatal” to the right
to invoke the tolling statute. Id. (Emphasis supplied.)

In Sasso, supra, plaintiff-owners of a company sold in a renegotiation deal sued the
defendant-attorney who structured the negotiation for wrongful conduct. The court held that the
wrongful conduct claim was time-barred.

The point of the due diligence requirement is, that even in the
presence of fraud, a party cannot abdicate all responsibility for
protecting his rights. Here it is clear that plaintiffs’ failure to act

soon is not attributable to the impossibility of domg so. . . .

See Sasso, 451 F.Supp. 933, 937 (emphasis supplied), The court reasoned that plaintiffs had been

 

made aware that the defendant had mishandled the renegotiation by virtue of being copied on
correspondence by the defendant which specifically expressed concerns to legal counsel regarding
the deal; however the plaintiffs failed to conduct an investigation. Id. Thus, the Sasso Court found
that the due diligence requirement was not met, and the expiration of the limitations could not be
defeated by § 5-203.

Defendant NTI maintains that the representations made by its agents referenced in Plaintiff's
Complaint were accurate. However, for the purposes of tolling the limitations period, whether or
not there is fraud is not a determinative factor. “Under the specific language of the statute, it is
obvious that the mere presence or absence of fraud is not necessarily determinative, rather, in the
instant case, the controlling factor is whether or not the party has been kept in ignorance of his claim

by the fraud.” See Associated Realty Co. v. Kimmelman, 19 Md. App. 368, 311 A.2d 464 (1973).
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 9 of 17

In this case, Plaintiff's Complaint falls short of the requirements for pleading fraud pursuant

to § 5-203. Further, her claim fails for failure to meet the standards of due diligence. This is clearly

evidenced in the following timeline established by Plaintiff's Complaint:

April 21, 2003:

February 25, 2004

December 31, 2004

February 14, 2006

March 3, 2006

January 2007

October 2007

Late 2007/2008

January 2009

Dr. De Long prescribed, sold and fitted plaintiff with mouth guard
(9) (See Exhibit A at € 9).

Plaintiff reported to her dentist with symptoms consistent with an
open anterior bite. dd. at 4 13)

Plaintiff viewed NTI’s website warning of changes in bite with use
of the mouth guard. (id. at § 19)

Plaintiff contacted Defendant. (Id. at {| 20)

Defendant informed Plaintiff of the company’s practice to issue
warnings about the potential for developing an open anterior bite and
recommended that plaintiffs counsel investigate Dr. De Long’s file
to determine the appropriate entity against which to file her claim.
(Id. at 4] 21 and Exhibit B)

Plaintiff filed a claim against Dr. De Long in Health Claims
Arbitration for injuries sustained by using the mouth guard. (See

Exhibit A at § 24)

Case against Dr. De Long is transferred from Health Claims
Arbitration to Circuit Court for Howard County. (Id. at {[ 25)

Dr. De Long’s counsel advised that he had not received the
warnings. (Id. at § 26)

Plaintiff files suit against Defendant NTL.

Interestingly, the Complaint makes no reference to obtaining discovery or taking the sworn

testimony of anyone in Plaintiff's case against Dr. De Long. Plaintiffs investigations, both before

and after filing suit against Dr. De Long, consisted of nothing more than relying upon

representations made by counsel for NTI and Dr. De Long, two adversarial parties. She made no

effort to obtain more formal or authoritative evidence regarding her potential claim against NTT.
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 10 of 17

The letter upon which Plaintiff bases her fraud claim provides no support for her allegations
of fraud. The March 3, 2006 letter contains no specific representations regarding the warnings
supplied to Dr. De Long for Plaintiff's mouth guard. Instead, the letter states that Plaintiff should
investigate Dr. De Long’s file.

Plaintiff failed to conduct a timely and proper investigation of her claims as clearly
evidenced in the above timeline. She did not contact NTI until over_a year after she learned about
the warnings provided on NTI’s website. She did nothing for over a year and half after receiving
NTI’s letter to pursue her investigation of Dr. De Long’s records. When she learned of Dr. De
Long’s position that he had not received any warnings, it was not as a result of any “diligent
investigation” on Plaintiffs part; she simply relied upon a statement by Dr. De Long’s attorney.
Even with the filing of the instant Complaint, Plaintiff has not obtained discovery, sworn testimony
from a witness, or any other authoritative and admisstble source of information regarding the
underlying issue of the manufacturer’s warnings accompanying Plaintiffs mouth guard.

Plaintiffs allegations do not meet the standard requiring that Plaintiff's fraud claim be pled
with particularity. She provides no reasonable basis for concluding that fraud occurred or why she
was unaware of NTI’s alleged fraud. She fails to allege facts indicating fraud or from which fraud is
necessarily implied. Doe v. Archdiocese of Washington, supra, 114 Md. App. at 187. Indeed, the
March 3, 2006 letter attached hereto as Exhibit B, merely asserts what information and warnings
should have been provided with the mouth guard to Dr. De Long and invites Plaintiffs counsel to
reconcile this information with the documentation in Dr. De Long’s chart. The letter makes no
representation that Dr. De Long actually received the standard informational material from NTT.
Her discovery of the alleged fraud is alleged as a mere happenstance when Dr. De Long’s attorney

decided to share his client’s position on whether Dr. De Long received product warnings. Most

10
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 11 of 17

importantly, Plainnff cannot supply a good faith basis for failmg to have discovered the alleged
fraud sooner; she simply ignored her obligation to conduct a thorough investigation of the matter.
As such, Plaintiff's fraud claim does not toll the statute of lumitations, and Counts LTV should be
properly dismissed.

V. PLAINTIFF FAILED TO STATE A CAUSE OF ACTION FOR FRAUD

 

While the underlying allegation of fraud may not be relevant for determining whether the
statute of limitations is tolled, it is relevant to dismiss Count V of Plaintiff's Complaint. The March
3, 2006 letter incorporated into Plamtiffs Complaint renders her fraud claim baseless.

An action for fraud requires that Plaintiff plead:

(1) that the defendant made a false representation to the plaintiff, (2) that its

falsity was ether known to the defendant or that the representation was made

with reckless indifference as to its truth, (3) that the misrepresentation was

made for the purpose of defrauding the plaintiff, (4) that the plaintiff relied

on the misrepresentation and had the nght to rely on it, and (5) that the

plaintiff suffered compensable injury resulting from the misrepresentation,
Maryland Environmental Trust_v. Gaynor, 370 Md. 89, 803 A.2d 512 (2002). Gourdine v. Crews,
405 Md. 722, 955 A.2d 769 (2008)

Throughout her Complaint, Plaintiff makes reference to representations made in the March
3, 2006 letter by Defendant NTI’s attorney addressing the warnings accompanying the mouth guard.
Plaintiff claims the representations made in that letter are false. However, Plaintiff's Complaint
omits reference to the last portion of the letter because it contradicts her claims.

On its face, the letter makes no specific representations regarding warnings actually
provided to Plaintiff or her dentist. Instead, NTTs attorney provides that the company’s general
practice was to include the warnings regarding the known risk to changes in bite with the mouth

guard device, along with a notice to the practitioner to obtain proper consent. Furthermore, the last

substantive paraeraph of the letter specifically advises Plaintiffs counsel to conduct further

ll
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 12 of 17

investigation regarding the warnings supplied in Plaintiff's case. Thus any representations made

 

within the letter are couched in the recommendation to investigate her claims. The letter, which was
only selectively referenced m Plaintiff's Complaint, invalidates Plaintiffs allegations of fraud.

Furthermore, NTI’s attorney sent the March 3, 2006 letter in response to Plaintiff's
counsel’s letter threatening legal action against NTI for alleged product defect claims. In
responding, NTI’s attorney was clearly representing what NTI’s preliminary defenses were to the
allegations. Contrary to Plaintiffs allegation that NTI knew or should have known that Plaintiff
would reasonably rely on the representations of NTI’s attorney, NTI had no such expectation.
Rather, NTI was responding to a threatened lawsuit. Per the letter, it was up to Plaintiff and her
lawyer to decide whether to accept or reject NTV’s explanation in determming whether and what
party(ies) to sue.

Moreover, Plaintiff suffered no “compensable injury” as a result of the alleged fraudulent

representations. Maryland Environmental Trust_v. Gaynor, supra, 370 Md. at 97. Per her

 

Complaint, her injury occurred at least two years prior to the exchange of the correspondence at
issue. At most, her alleged reliance on the statements made in the March 3, 2006 letter onty
influenced her decision on which defendant to sue, not the nature or extent of her alleged injury.
Plaintiff cannot justifiably rely upon a letter that clearly advises her to conduct a full
investigation to identify the appropriate party against which she has a claim. No facts are alleged
indicating that the March 3, 2006 letter was sent with NTI’s intent to defraud Plaintiff or purposely
provide false information; a letter which advises an adversary to conduct an investigation does not
demonstrate intent to defraud. As such, the four corners of the letter do not support Plaintiffs fraud

claim. Accordingly, Count V must be dismissed.

12
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 13 of 17

VI. PLAINTIFF FAILED TO STATE A CLAIM FOR NEGLIGENT
MISREPRESENTATION

For the same reasons Plaintiff's fraud claim fails, so does her claim for negligent
misrepresentation. Plaintiff cannot establish a claim for negligent misrepresentation based upon a
fetter, which on its face, limits the representations made therein by recommending that Plaintiff
research Plaintiff's dentistry file.

In order to plead a cause of action for negligent misrepresentation, plaintiff must allege the
foliowing:

(1) negligent assertion of a false statement by the defendant owing a
duty of care to the plaintiff; (2) intention of the defendant for the
plaintiff to act or rely upon the negligent assertion; (3) knowledge of
the defendant that the plaintiff will probably rely upon the negligent
assertion or statement which, if erroneous, will cause damage; (4)
justifiable action by the plamtiff in reliance upon the statement or

assertion; and (5) damages caused by the defendant's negligence

Martens Chevrolet, Inc. v. Seney, 292 Md. 328, 337, 439 A.2d 534 (1982).

 

Plaintiff cannot establish that a potential adversary owes a duty to provide information
regarding the presence or absence of warnings accompanying her mouth guard. Even if she could,
Plaintiff's claim fails because NTI cannot intend for Plaintiff to rely upon a letter which
unambiguously directs Plaintiff's counsel to “review” Dr. De Long’s medical chart and
recommends that an investigation be conducted to determine where Plaintiff's cause of action
“lies.” See Exhibit B. As indicated above in Section V, given the circumstances of the March 3,
2006 letter, Defendant NTI simply could not have expected Plaintiff to rely on the statements within
the letter where Plaintiff failed to conduct her own investigation for over one and half years. Lastly,
as with the fraud claim, Plaintiff cannot justifiably rely upon the letter when she (1) failed to

conduct a timely investigation, (2) failed to conduct a thorough investigation, and (3) accepted as

13
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 14 of 17

truth oral statements made by attorneys of potential adversaries, NTI and Dr. De Long, without any
formal support by means of written discovery or formal statements made under oath.

Likewise, for the same reasons that Plaintiff is unable to prove damages flowing from the
alleged fraudulent representations, she is unable to sustain that burden with respect to her claim of
negligent misrepresentation. Martens Chevrolet, Inc. v. Seney, 292 Md., supra, at 337.

Facially, the March 2006 letter invalidates Plaintiff's claim of negligent misrepresentation.
Plaintiff's reference to the letter cannot state a claim for relief based upon negligent
misrepresentation. As such, Count VI of the Complaint must be dismissed.

VIL. IF THE COURT DOES NOT DISMISS PLAINTIFF’S COMPLAINT,

THEN, IN THE ALTERNATIVE, PLAINTIFFE’S CLAIMS FOR PUNITIVE
DAMAGES IN COUNTS IL AND V MUST BE DISMISSED

Plaintiff's claims for punitive damages are not supported by the Complaint. NTY’s actions
purportedly supporting Counts II and V of Plaintiff's Complaint are missing the element of mtent,
or actual malice, and thus do not meet the standard for awarding punitive relief.

In Maryland, punitive damages may only be awarded in cases where a plaintiff has
established, by clear and convincing evidence, that the Defendant’s alleged misconduct “was

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characterized by evil motive, intent to injure, ill will or fraud, i.e. ‘actual malice.” Owens-Illinois

 

Inc. v. Zenobia, 325 Md. 420, 460 n. 20, 601 A.2d 633 (1992). Actual malice must be pleaded and
proven by clear and convincing evidence in order for Plaintiffs to recover punitive relief. See, Scott
v. Jenkins, 345 Md. 21, 29 (1997). A finding of actual malice can be inferred from circumstantial
evidence. “Malice, fraud, deceit and wrongful motive are oftenest inferred from acts and
circumstantial evidence. They are seldom admitted and need not be proved by direct evidence.”

McClune-Logan Equipment Co. v. Thomas, 226 Md. 136, 148, 172 A.2d 494 (1961).

14
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 15 of 17

A. Plaintiff Is Not Entitled To Punitive Relief for Count I] Alleging Willful
and Wanton Misconduct.

In order for actual malice to be found in a products liability case, regardless of whether the
cause of action for compensatory damages is based on negligence or strict liability, the Plaintiff
must prove (1) actual knowledge of the defect in the product on the part of the Defendant; and, (2)
the Defendant's conscious or deliberate disregard of the foreseeable harm resulting from the defect.

Zenobia, supra, 325 Md. at 462, 601 A.2d at 653. The Zenobia court stressed that "substantial

 

knowledge" or "constructive knowledge" of a defect in a product and its ability to produce harm
would not be sufficient for the award of punitive damages. Id. at 462, 601 A.2d at 633. “Actual
knowledge” of the defect and its danger are required. Id.

Furthermore, the plaintiff is required to show that, with this actual knowledge, the defendant
consciously or deliberately disregarded the potential harm to consumers. Id. at 463, 601 A.2d at
654. The Zenobia court emphatically states that negligence alone, no matter how gross, wanton, or
outrageous, will not satisfy this standard. Id, Instead, the test requires a bad faith decision by the
defendant to market a product, knowing of the defect and danger, in conscious or deliberate
disregard of threat to the safety of the consumer. Id.

Here, Plaintiff has not sufficiently pled her product liability claim to seek punitive relief.
Plaintiff's Complaint and the incorporated letter make clear that NTPs general practice was to
include a warning to its customers (dentists) and to end-users regarding the potential for changes in
bite caused by extensive use of the mouth guard. Plaintiff's Complaint not only acknowledges the
company’s practice of regularly providing warnings, but also that Plaintiff learned of the warnings
issued by NTI by perusing the company’s website. With those allegations pled in her Complaint,
Plaintiff cannot establish the element of malice or intent to injure. As such, Plaintiff is not entitled

to punitive relief for Count I.

15
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 16 of 17

B. Plaintiff Is Not Entitled To Punitive Relief For Count V Alleging Fraud.
Plaintiffs fraud claim is invalid as expounded in detail above. Nevertheless, should the

Court allow the fraud claim, Plaintiff is not entitled to punitive relief.

In Ellerin v. Fairfax Savings, F.S.B., 337 Md. 216, 652 A.2d 1117, (1995), the Court of

 

Appeals noted that not all instances of fraud would support an award of punitive damages, because
not all instances of fraud involve actual malice. The “actual malice” standard is met with “actual
knowledge of falsity, coupled with intent to deceive another by means of that statement.” Id. at 240.

As such, Ellerin purports to uphold Zenobia where Defendant has (1) actual knowledge of falsity

 

and (2) a malicious intent to deceive.

As thoroughly discussed above, the letter incorporated into Plamtiff's Complaint makes
plain that NTT did not act with malice; there was no intent to deceive. On the contrary, m a good
faith response to a potential adversary, defendant informed Plaintiff of its usual practice to insert
warnings with its product and advised Plaintiff to conduct her own investigation. Because Plaintiff
is unable to establish the element of malice or intent to deceive in light of the incorporation of the
March 3, 2006 letter into her Complaint, she cannot seek punitive relief for her fraud claim.

VUL CONCLUSION

For the reasons herein stated, the Court must dismiss Plaintiffs Complaint in its entirety.
Counts 1-IV are barred by the statute of limitations and Counts V and VI fail to state a proper claim
for relief. In the alternative, if the Court does not dismiss Plaintiff's Complaint in its entirety, the

claims for punitive damages in Counts IT and V must be dismissed.

16
Case 1:09-cv-00558-CCB Document 8-1 Filed 04/08/09 Page 17 of 17

Respectfully submitted,

/s/ Anthony J. Breschi
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17
